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                                    EXHIBIT 2

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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

            In re:                                                       Chapter 11

            WINC, INC., et al.,1                                         Case No. 22-11238 (LSS)

                                      Debtors.                           (Jointly Administered)

                                                                         Docket Ref. No. 14


                    INTERIM ORDER (I) AUTHORIZING DEBTORS TO (A) OBTAIN
                 POSTPETITION FINANCING PURSUANT TO 11 U.S.C. §§ 105, 361, 362,
               364(c)(1), 364(c)(3), 364(d)(1), AND 364(e) AND (B) USE CASH COLLATERAL
               PURSUANT TO 11 U.S.C. § 363, (II) GRANTING ADEQUATE PROTECTION
               PURSUANT TO 11 U.S.C. §§ 361, 362, 363, AND 364, AND (III) SCHEDULING
                FINAL HEARING PURSUANT TO BANKRUPTCY RULES 4001(b) AND (c)

                  Upon consideration of the motion, dated as of December 2, 2022 (the “Motion”)2 of Winc,

       Inc. (“Winc”) and its affiliated debtors and debtors-in-possession (collectively with Winc, the

       “Debtors”), pursuant to 11 U.S.C. §§ 105, 361, 362, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1),

       and 364(e), Rules 2002, 4001, 6003, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure

       (the “Bankruptcy Rules”), and Rules 2002-1, 4001-2, and 9013-1(m) of the Local Rules of

       Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

       Delaware (the “Bankruptcy Local Rules”), seeking entry of (i) an interim order (this “Interim

       Order”) and (ii) a final order (the “Final Order”); and the Debtors’ having requested on the record

       at the interim hearing on the Motion (the “Interim Hearing”) that the Court enter an Interim Order,

       inter alia,:




       1    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
            number, are: Winc, Inc. (8960); BWSC, LLC (0899); and Winc Lost Poet, LLC (N/A). The Debtors’ mailing
            address for purposes of these chapter 11 cases is 1751 Berkeley Street, Studio 3, Santa Monica, CA 90404.
       2    Unless otherwise defined, capitalized terms used herein shall have the meaning ascribed to them in the Term Sheet
            (as defined below).
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                 (a)      authorizing the Debtors to obtain secured postpetition financing from the DIP

       Lender (the “DIP Facility”) on a pari passu basis with the Prepetition Secured Party (as defined

       below) pursuant to the terms and conditions of that certain Superpriority Secured Debtor-in-

       Possession Credit Facility Term Sheet, dated as of December 56, 2022 (the “Term Sheet”), a copy

       of which is attached hereto as Exhibit B, in the aggregate principal amount of up to $5,000,000,

       of which $2,000,000 shall be available pursuant to this Interim Order;3

                 (b)      authorizing the Debtors to execute any other documents, agreements, and

       instruments delivered pursuant thereto or executed or filed in connection therewith, all as may be

       reasonably requested by the DIP Lender (as the same may be amended, restated, supplemented, or

       otherwise modified from time to time, and collectively with the Term Sheet, the “DIP Loan

       Documents”);

                 (c)      granting to the DIP Lender first priority security interests in and liens on all of the

       DIP Collateral (as defined below), pari passu with the Prepetition Secured Party, to secure the DIP

       Facility and all obligations owing and outstanding thereunder and under the DIP Loan Documents,

       as applicable, this Interim Order and the Final Order, as applicable (collectively, and including all

       “Obligations” as described in the Term Sheet, the “DIP Obligations”), subject only to prior

       payment of the Carve Out (as defined below);

                 (d)      granting to the Prepetition Secured Party first priority security interests in and

       adequate protection liens on all of the DIP Collateral (as defined below), pari passu with the DIP

       Lender, to secure the Prepetition Senior Obligations and the Adequate Protection Obligations (each

       as defined below), subject to the Carve Out;




       3    The “DIP Lender” shall mean Project Crush Acquisition Corp LLC.
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                 (e)      granting allowed superpriority administrative expense claims to the DIP Lender and

       the Prepetition Secured Party, which will be pari passu with each other, subject to the Carve Out;

                 (f)      authorizing the Debtors to use Cash Collateral (as defined below) with the

       Prepetition Secured Party’s consent subject to the terms of this Interim Order and the Final Order,

       as applicable;

                 (g)      authorizing the Debtors to grant adequate protection to the Prepetition Secured

       Party subject to the terms of this Interim Order and the Final Order, as applicable; and

                 (h)      scheduling a hearing (the “Final Hearing”), pursuant to Bankruptcy Rule

       4001(c)(2), to consider entry of the Final Order ((a) through (h) collectively, the “Requested

       Relief”);

                 and the Interim Hearing having been held on December 6, 2022; and upon all of the

       pleadings filed with the Court and the evidence proffered or adduced at the Interim Hearing; and

       the Court having heard and resolved or overruled any and all objections to the Requested Relief;

       and it appearing that the Requested Relief is in the best interests of the Debtors, their estates, and

       creditors; and upon the record herein; and after due deliberation thereon, and good and sufficient

       cause appearing therefor:

                 IT IS HEREBY FOUND AND DETERMINED THAT:4

                 A.       Petition Date.        On November 30, 2022 (the “Petition Date”), the Debtors

       commenced their chapter 11 cases (these “Chapter 11 Cases”) by filing voluntary petitions for

       relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United

       States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors are operating




       4    Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings of
            fact, as applicable, pursuant to Bankruptcy Rule 7052.
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       their businesses and managing their affairs as debtors in possession pursuant to sections 1107(a)

       and 1108 of the Bankruptcy Code. As of the date hereof, no trustee, examiner, or official

       committee of creditors holding unsecured claims (a “Creditors’ Committee”) has been appointed

       in any of these Chapter 11 Cases.

                B.        Jurisdiction; Venue. The Court has jurisdiction over these Chapter 11 Cases, the

       Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b) and 1334.

       Consideration of the DIP Facility and the use of Cash Collateral constitutes a core proceeding

       pursuant to 28 U.S.C. § 157(b)(2)(D). The Court is a proper venue of these Chapter 11 Cases and

       the Requested Relief under 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief sought

       herein are sections 105, 361, 362, 363, 364, 503, and 507 of the Bankruptcy Code and Bankruptcy

       Rules 2002, 4001, 6003, 6004, and 9014 and the applicable Bankruptcy Local Rules.

                C.        Notice. Good and sufficient notice of the Motion under the circumstances has been

       provided in accordance with the Bankruptcy Code, the Bankruptcy Rules, and the Bankruptcy

       Local Rules. The interim relief granted herein is necessary to avoid immediate and irreparable

       harm to the Debtors and their estates pending a Final Hearing.

                D.        Prepetition Senior Obligations and Senior Liens.

                       (i)        For purposes of this Interim Order, (a) the term “Prepetition Senior

                Obligations” shall mean all of the Obligations (as such term is defined in the Prepetition

                Senior Loan Documents (as defined below)), as of the Petition Date, owed to the

                Prepetition Secured Party, and (b) the term “Prepetition Senior Loan Documents” shall

                mean that certain Credit Agreement, dated as of December 15, 2020 (as amended, restated,

                amended and restated, supplemented or otherwise modified from time to time prior to the

                date hereof, the “Prepetition Senior Credit Agreement”), by and among Winc, Inc. and


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                BWSC, LLC, as borrowers (the “Borrowers”), and Banc of California, N.A., as successor-

                by-merger to Pacific Mercantile Bank, as Bank (together with its permitted agents, sub-

                agents, delegates, attorneys-in-fact, successors and assigns, the “Prepetition Secured

                Party”) and together with all agreements, documents, notes, mortgages, security

                agreements, pledges, guarantees, subordination agreements, instruments, amendments, fee

                letters and any other agreements delivered pursuant thereto or in connection therewith.

                      (ii)        To secure the Prepetition Senior Obligations, the Debtors granted to the

                Prepetition Secured Party first priority liens upon and senior security interests in (the

                “Prepetition Senior Liens”) substantially all of the Debtors’ property and assets

                (collectively, the “Prepetition Collateral”) as more particularly set forth in certain security

                documents and instruments, including but not limited to the Security Agreement, dated as

                of December 15, 2020, by Winc, Inc. and BWSC, LLC as grantors, in favor of the

                Prepetition Secured Party;

                E.        Debtors’ Acknowledgements and Stipulations - the Prepetition Senior Obligations.

       In exchange for the granting of liens of equal priority to the Prepetition Secured Party’s liens and

       claims in connection with the DIP Facility, and having obtained the consent of the Prepetition

       Secured Party, the Debtors acknowledge, represent, stipulate, and agree, subject to the terms and

       provisions of Paragraph 14 below, that:

                       (i)        as of the Petition Date, (a) the aggregate principal amount of the Prepetition

                Senior Obligations of not less than approximately $3,400,000, together with interest

                (including default interest) thereon, premiums, costs, expenses, letter of credit obligations,

                fees (including deferred extension fees and attorneys’ fees), indemnities, reimbursement

                obligations and other charges and Obligations owed by the Debtors are due and payable


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                under the Prepetition Senior Credit Agreement; (b) all of the Prepetition Senior Obligations

                constitute legal, valid, binding, and non-avoidable obligations of the Debtors and are

                unconditionally owing by the Debtors to the Prepetition Secured Party, and (c) the

                Prepetition Senior Obligations are not subject to any avoidance, reductions, set-off, offset,

                recharacterization, subordination (whether equitable, contractual, or otherwise),

                counterclaims, cross-claims, defenses or any other challenges under the Bankruptcy Code

                or any applicable law or regulation by any person or entity;

                      (ii)        the Prepetition Senior Liens constitute valid, binding, enforceable, non-

                avoidable and perfected liens on all or substantially all of the Debtors’ assets with priority

                over any and all other liens except for the DIP Liens and Adequate Protection Liens (as

                defined below) (other than Permitted Liens, as defined in the Prepetition Senior Loan

                Documents) and are not subject to any challenge or defense, including, without limitation,

                respectively, avoidance, reductions, recharacterization, subordination (whether equitable,

                contractual or otherwise), claims, counterclaims, cross-claims, offsets, defenses or any

                other challenges under the Bankruptcy Code or any applicable law or regulation by any

                person or entity, except as set forth in Paragraph 14 below; and

                     (iii)        The Debtors have requested and the Prepetition Secured Party has agreed

                that the Prepetition Secured Party consents to, among other things, (a) the Debtors’ use of

                Cash Collateral (as defined below) and the other Prepetition Collateral, (b) the incurrence

                of the DIP Obligations by the Borrower under the DIP Loan Documents, and (c) the

                Debtors’ granting of the DIP Liens in connection therewith, pari passu to the Prepetition

                Senior Liens (as defined below) with respect to the DIP Collateral. The Prepetition Secured

                Party is entitled, pursuant to sections 361, 363(e), and 364(d)(1) of the Bankruptcy Code,


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                to adequate protection of its interests in the Prepetition Collateral, including Cash

                Collateral (x) in exchange for their consent to allow the Debtors’ use of such Prepetition

                Collateral, including the Cash Collateral, and (y) for any diminution resulting from the sale,

                lease, or use by the Debtors (or other decline in value) of Cash Collateral and any other

                Prepetition Collateral, the granting of liens to the DIP Lender of equal priority to the

                Prepetition Senior Liens pursuant to this Interim Order, the imposition of the automatic

                stay pursuant to section 362 of the Bankruptcy Code, or otherwise.

                F.        Cash Collateral. For purposes of this Interim Order, the term “Cash Collateral”

       shall mean and include all “cash collateral,” as defined in section 363 of the Bankruptcy Code, in

       or on which the DIP Lender or the Prepetition Secured Party have a lien, security interest, or other

       interest (including, without limitation, any adequate protection liens or security interests) whether

       existing on the Petition Date, arising pursuant to this Interim Order, or otherwise and shall include,

       without limitation:

                       (i)        all cash proceeds arising from the collection, sale, lease or other disposition,

       use or conversion of any real or personal property, including insurance policies (including, without

       limitation, policies for the benefit of directors and officers of the Debtors), in or on which the DIP

       Lender or Prepetition Secured Party have a lien or adequate protection lien, whether as part of the

       DIP Collateral, Prepetition Collateral, or pursuant to an order of the Court or applicable law or

       otherwise, and whether such property has been converted to cash, existed as of the commencement

       of these Chapter 11 Cases, or arose or was generated thereafter;

                      (ii)        all of the respective deposits, refund claims, and rights in retainers of the

       Debtors on which the DIP Lender or Prepetition Secured Party has a lien or adequate protection




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       lien, whether as part of the DIP Collateral, Prepetition Collateral, or pursuant to an order of the

       Court or applicable law or otherwise; and

                     (iii)        the proceeds of any sale of DIP Collateral or Prepetition Collateral in

       connection with any sale consummated prior to entry of the Final Order.

                G.        Adequate Protection. The Prepetition Secured Party is entitled, pursuant to sections

       361, 363(e), and 364(d)(1) of the Bankruptcy Code, to adequate protection of its senior interests

       in the Prepetition Collateral, including the Cash Collateral, in exchange for the Debtors’ use of

       such Prepetition Collateral, to the extent of the diminution in value, if any, of the Prepetition

       Collateral, including, without limitation, any diminution in value resulting from (i) the sale, lease,

       or use by the Debtors (or other decline in value) of the Cash Collateral and any other Prepetition

       Collateral, (ii) the priming of the Prepetition Senior Liens on and in the Prepetition Collateral by

       the DIP Lender, (iii) the subordination of the Prepetition Senior Obligations to the Carve Out, or

       (iv) the imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code.

                H.        Purpose and Necessity of Financing. The Debtors require the financing described

       in the Requested Relief to (i) permit the continuation of their businesses and preserve their going

       concern value, (ii) satisfy payroll obligations and other working capital and general corporate

       purposes of the Debtors consistent with the terms set forth in the DIP Loan Documents and the

       Approved Budget (as defined below), (iii) pursue an orderly sale process, and (iv) pay fees and

       expenses related to the DIP Loan Documents, the Adequate Protection Obligations, and the

       Chapter 11 Cases. If the Debtors do not obtain authorization to borrow under the Term Sheet (and,

       upon entry of a Final Order, the DIP Credit Agreement), they will suffer immediate and irreparable

       harm. The Debtors are unable to obtain adequate unsecured credit allowable as an administrative

       expense under section 503 of the Bankruptcy Code, or other sufficient financing under sections


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       364(c) or (d) of the Bankruptcy Code, on more favorable terms than those set forth in the DIP Loan

       Documents, based on the totality of the circumstances. A loan facility in the amount provided by

       the DIP Loan Documents is not available to the Debtors without granting the DIP Lender, for the

       benefit of the DIP Lender, superpriority claims, liens, and security interests, pursuant to section

       364(c)(1), 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy Code, as provided in this Interim

       Order and the DIP Loan Documents.             After considering all alternatives, the Debtors have

       concluded, in the exercise of their sound business judgment, that the DIP Facility represents the

       best financing available to them at this time.

                I.        Willingness to Provide Financing. The DIP Lender has indicated a willingness to

       provide financing to the Debtors subject to the entry of this Interim Order, and conditioned upon

       the entry of the Final Order, including findings that such financing is essential to the Debtors’

       estates, the DIP Lender is extending credit to the Debtors as set forth in the DIP Facility in good

       faith, and that the claims, superpriority claims, security interests, liens, rights, and other protections

       granted to the DIP Lender will have the protections provided in section 364(e) of the Bankruptcy

       Code and will not be affected by any subsequent reversal, modification, vacatur, amendment,

       reargument, or reconsideration of this Interim Order, the Final Order, or any other order.

                J.        Good Cause Shown. Good cause has been shown for entry of this Interim Order.

       The ability of the Debtors to obtain sufficient working capital and liquidity under the DIP Loan

       Documents and access to Cash Collateral is vital to the Debtors’ estates and creditors. The

       liquidity to be provided under the DIP Loan Documents and access to Cash Collateral will enable

       the Debtors to continue to operate their businesses in the ordinary course, preserve the value of the

       Debtors’ assets and pursue a sale transaction that will maximize the value of their assets for the

       benefit of all stakeholders. Among other things, entry of this Interim Order is necessary to


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       maximize the value of the Debtors’ assets and to avoid immediate and irreparable harm to the

       Debtors and their estates, and, accordingly, is in the best interests of, the Debtors, their estates, and

       their creditors.

                K.        Sections 506(c) and 552(b) Waivers. In light of (i) the DIP Lender’s agreement to

       permit the DIP Liens and DIP Superpriority Claim to be subject to prior payment of the Carve Out,

       and in exchange for and as a material inducement to the DIP Lender to provide the DIP Facility

       and (ii) the agreement of the Prepetition Secured Party to permit the Prepetition Senior Liens,

       Adequate Protection Superpriority Claim, and Adequate Protection Liens to be subject to prior

       payment of the Carve Out and to permit the use of Cash Collateral for payments made in

       accordance with the Approved Budget and the terms of this Interim Order, the DIP Lender and the

       Prepetition Secured Party are each entitled to (a) subject to entry of the Final Order, a waiver of

       any “equities of the case” claims under section 552(b) of the Bankruptcy Code and (b) subject to

       entry of the Final Order, a waiver of the provisions of section 506(c) of the Bankruptcy Code.

                L.        Good Faith. The terms of the DIP Facility, including, without limitation, the

       interest rates and fees applicable, and intangible factors relevant thereto, are reasonable under the

       circumstances. Based upon the record before the Court, the DIP Loan Documents have been

       negotiated in good faith and at arm’s-length among the Debtors, the DIP Lender, and the

       Prepetition Secured Party, under no duress, and without undue influence, in respect of all actions

       taken by them in connection with or related in any way to negotiating, implementing, documenting,

       or obtaining the requisite approvals of the DIP Facility, and the use of Cash Collateral, including

       in respect of the granting of the DIP Liens, any challenges or objections to the DIP Facility or the

       use of Cash Collateral, and all documents related to any and all transactions contemplated by the

       foregoing. Any DIP Obligations and other financial accommodations made to the Debtors by the


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       DIP Lender pursuant to the DIP Loan Documents and this Interim Order shall be deemed to have

       been extended by the DIP Lender in good faith, as that term is used in section 364(e) of the

       Bankruptcy Code, and the DIP Lender shall be entitled to all protections afforded thereby.

                M.        Fair Consideration and Reasonably Equivalent Value. All of the Debtors have

       received and will receive fair and reasonable consideration in exchange for access to the DIP

       Facility and all other financial accommodations provided under the DIP Loan Documents and this

       Interim Order. The terms of the DIP Loan Documents are fair and reasonable, reflect the Debtors’

       exercise of prudent judgment consistent with their fiduciary duties, and are supported by

       reasonably equivalent value and fair consideration.

                N.        Immediate Entry of Interim Order. The Debtors have requested immediate entry

       of this Interim Order pursuant to Bankruptcy Rules 4001(b)(2) and 4001(c)(2) and Bankruptcy

       Local Rule 4001-2(b). The permission granted herein to enter into the DIP Loan Documents and

       to obtain funds thereunder is necessary to avoid immediate and irreparable harm to the Debtors.

       This Court concludes that entry of this Interim Order is in the best interests of the Debtors’

       respective estates and creditors as its implementation will, among other things, allow for access to

       the financing necessary for the continued flow of supplies and services to the Debtors necessary

       to sustain the operation of the Debtors’ existing businesses and further enhance the Debtors’

       prospects for a successful reorganization or sale of substantially all of their assets.

                Based upon the foregoing findings, acknowledgements, and conclusions, and upon the

       record made before this Court at the Interim Hearing, and good and sufficient cause appearing

       therefor;




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       IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

                1.        Disposition. The relief requested by the Debtors on the record at the Interim

       Hearing is granted on the terms set forth in this Interim Order. Any objection to the interim relief

       sought by the Debtors that has not previously been withdrawn or resolved is hereby overruled on

       its merits. The term of this Interim Order, the DIP Loan Documents, and the use of Cash Collateral

       authorized hereunder shall expire, and the DIP Facility made pursuant to this Interim Order and

       the DIP Loan Documents will mature, and together with all interest thereon and any other

       obligations accruing under the DIP Loan Documents, will become due and payable (unless such

       obligations become due and payable earlier pursuant to the terms of the DIP Loan Documents and

       this Interim Order by way of acceleration or otherwise) on the earlier of (a) twenty-eight (28) days

       after the Petition Date if a Final DIP Order has not been entered prior to such date, or

       (b) termination of the DIP Facility by the DIP Lender, or termination of the Prepetition Secured

       Party’s consent to use Cash Collateral, following the occurrence of an Event of Default in

       accordance with the terms of this Interim Order.

            AUTHORIZATION FOR DIP FINANCING AND USE OF CASH COLLATERAL

                2.        Authorization for DIP Financing and Use of Cash Collateral.

                       (i)        The Debtors are hereby authorized, on an interim basis, to incur DIP

       Obligations immediately subject to the terms of this Interim Order, the Approved Budget, and the

       DIP Loan Documents, in the aggregate principal amount of up to $2,000,000. Available financing

       under the DIP Loan Documents shall, on an interim basis, be made to fund, strictly in accordance

       with the Approved Budget, working capital and general corporate requirements of the Debtors,

       bankruptcy-related costs and expenses (including interest, fees, and expenses in accordance with

       this Interim Order or the DIP Loan Documents), and any other amounts required or allowed to be


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       paid in accordance with this Interim Order, but only as and to the extent authorized by the

       Approved Budget (and permitted variances as set forth in the DIP Loan Documents) and the DIP

       Loan Documents.

                      (ii)        The Debtors are authorized to use Cash Collateral subject to and in

       accordance with the terms, conditions, and limitations set forth in this Interim Order, the Approved

       Budget (and permitted variances as set forth in the DIP Loan Documents) and the DIP Loan

       Documents, without further approval by the Court.

                     (iii)        The Debtors have delivered to the DIP Lender and the Prepetition Secured

       Party a budget that sets forth projected cash receipts and cash disbursements (by line item) on a

       weekly basis for the time period from and including the Petition Date through January 20, 2023, a

       copy of which is attached hereto as Exhibit A (the “Approved Budget”). The Approved Budget

       shall at all times be in form and substance acceptable to the DIP Lender and the Prepetition Secured

       Party, and approved in writing by the DIP Lender and the Prepetition Secured Lender in their sole

       and absolute discretion. The Debtors shall provide updates to the Approved Budget and financial

       reporting with respect to the Debtors in accordance with the terms of the DIP Loan Documents

       (which updates shall also be provided to the Prepetition Secured Party for its approval concurrently

       with the DIP Lender), and shall provide copies of updates to the Approved Budget to the U.S.

       Trustee and counsel for any Creditors’ Committee.           Funds borrowed under the DIP Loan

       Documents and Cash Collateral used under this Interim Order shall be used by the Debtors in

       accordance with the DIP Loan Documents and this Interim Order. The consent of the DIP Lender

       or the Prepetition Secured Party to any Approved Budget shall not be construed as a commitment

       by the DIP Lender to provide the DIP Facility or the agreement of the Prepetition Secured Party

       to permit the use of Cash Collateral after the occurrence of a Termination Event under this Interim


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       Order, regardless of whether the aggregate funds shown on the Approved Budget have been

       expended.

                     (iv)         Any amendments, supplements, or modifications to the Approved Budget

       must be consented to in writing by the DIP Lender and the Prepetition Secured Party in their sole

       discretion prior to the implementation thereof and shall not require further notice, hearing, or court

       order; provided, however that notice of any such amendment, supplement, or modification shall

       be provided to the U.S. Trustee and counsel to the Creditors’ Committee.

                      (v)         The DIP Lender and the Prepetition Secured Party (i) may assume the

       Debtors will comply with the Approved Budget, and (ii) shall have no duty to monitor such

       compliance. All advances and extensions of credit shall be based upon the terms and conditions

       of the DIP Loan Documents, as the same may be adjusted from time to time. Subject to the terms

       and conditions of this Interim Order, the DIP Lender shall have the right but not the obligation to

       extend credit independent of any Approved Budget line item restrictions on loan availability set

       forth in the DIP Loan Documents, and all such DIP Obligations shall be entitled to the benefits

       and protections of this Interim Order.

                3. Authority to Execute and Deliver Necessary Documents.

                       (i)        Each of the Debtors is authorized to negotiate, prepare enter into, and

       deliver the DIP Loan Documents, in each case including any amendments thereto and borrow

       money under the DIP Facility, on an interim basis, in accordance with the terms of this Interim

       Order and the DIP Loan Documents. Each of the Debtors is further authorized and directed to

       negotiate, paper, enter into and deliver any UCC financing statements, pledge and security

       agreements, mortgages or deeds of trust, or similar documents or agreements encumbering all of




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       the DIP Collateral and securing all of the Debtors’ obligations under the DIP Loan Documents,

       each as may be reasonably requested by the DIP Lender.

                      (ii)        Each of the Debtors is further authorized and directed to negotiate, prepare,

       enter into, and deliver any UCC financing statements, pledge and security agreements, mortgages

       or deeds of trust, or similar documents or agreements encumbering all of the DIP Collateral with

       Adequate Protection Liens and securing all of the Debtors’ obligations under the Prepetition Senior

       Credit Agreement, subject to the modification of such obligations and interests through this Interim

       Order (provided that, for the avoidance of doubt, such Adequate Protection Liens and any other

       security interests held by the Prepetition Secured Party shall be pari passu in all respects to the

       DIP Liens as set forth through the DIP Credit Documents and authorized through this Interim

       Order).

                      (iii)       Each of the Debtors is further authorized to (i) perform all of its obligations

       under the DIP Loan Documents, and such other agreements as may be required by the DIP Loan

       Documents to give effect to the terms of the financing provided for therein and in this Interim

       Order, and (ii) perform all acts required under the DIP Loan Documents and this Interim Order.

       For the avoidance of doubt, this Interim Order only approves the Term Sheet and not any potential

       DIP credit agreement that may be negotiated in the future.

                 4.       Valid and Binding Obligations. All obligations under the DIP Loan Documents

       shall constitute valid and binding obligations of each of the Debtors, enforceable against each of

       them, each of their estates, and each of their successors and assigns, jointly and severally,

       including, without limitation, any trustee or other estate representative appointed in the Chapter

       11 Cases or any Successor Case (as defined below), in accordance with their terms and the terms

       of this Interim Order, and no obligation, payment, transfer, or grant of a lien or security interest


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       under the DIP Loan Documents or this Interim Order shall be restrained, voidable, or recoverable

       under the Bankruptcy Code or under any applicable law (including, without limitation, under

       section 502(d) of the Bankruptcy Code) or subject to any avoidance, reduction, set off, offset,

       recharacterization, subordination (whether equitable, contractual, or otherwise), counterclaims,

       cross-claims, defenses, or any other challenges under the Bankruptcy Code or any applicable law

       or regulation by any person or entity. The DIP Obligations include all loans and any other

       indebtedness or obligations, contingent or absolute, now existing or hereafter arising, which may

       from time to time be or become owing by the Debtors to the DIP Lender under the DIP Loan

       Documents, including without limitation all principal, interest, costs, fees, expenses and other

       amounts owed pursuant to the DIP Loan Documents.

                5.        Termination of DIP Loan Documents and Cash Collateral Authority.

       Notwithstanding anything in this Interim Order to the contrary, the term of this Interim Order and

       the DIP Loan Documents shall expire, and the DIP Facility made pursuant to this Interim Order

       and the DIP Loan Documents will mature, and together with all interest thereon and any other

       obligations accruing under the DIP Loan Documents, will become due and payable (unless such

       obligations become due and payable earlier pursuant to the terms of the DIP Loan Documents and

       this Interim Order by way of acceleration or otherwise), and the Debtors’ authority to use Cash

       Collateral shall terminate, on the date that is the earliest of: (a) twenty-eight (28) days after the

       Petition Date if a Final DIP Order has not been entered prior to such date, (b) January 20, 2023,

       (c) the date of consummation of a sale of all or substantially all of the assets of the Debtors pursuant

       to section 363 of the Bankruptcy Code, (c) the occurrence of the effective date of any confirmed

       plan of reorganization in the Chapter 11 Cases, or (d) termination of the DIP Facility by the DIP

       Lender or the Prepetition Secured Party’s consent for the Debtors to the use of Cash Collateral


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       following the occurrence of an Event of Default; provided, however, the DIP Facility shall not

       terminate until such time as all accrued fees and expenses due and owed to the DIP Lender and the

       Prepetition Secured Party as set forth in the DIP Loan Documents and Prepetition Senior Loan

       Documents, respectively, have been paid to the DIP Lender and the Prepetition Secured Party as

       applicable.

                6.        Authorization for Payment of DIP and Prepetition Secured Party Fees and

       Expenses. All fees paid and payable, and all costs and/or expenses reimbursed or reimbursable

       (including, without limitation, all fees, costs, and/or expenses referred to in the DIP Loan

       Documents) by the Debtors to the DIP Lender andof the Prepetition Secured Party are hereby

       approved. Theincurred prior to the Petition Date and reimbursable under the Prepetition Senior

       Loan Documents shall accrue and shall be due and payable to the Prepetition Secured Party as a

       condition precedent to the termination of the DIP Loan Documents. The prepetition professional

       fees of the DIP Lender shall accrue but not be paid absent further order of the Court. Other than

       the prepetition professional fees of the DIP Lender, the Debtors are hereby authorized and directed

       to pay all suchof the DIP Lender’s fees, costs, and expenses in accordance with the terms of the

       DIP Loan Documents, the Prepetition Senior Loan DocumentsTerm Sheet and this Interim Order,

       without any requirement that any party or their counsel file any further application or other

       pleading, notice, or document with the Court for approval or payment of such fees, costs, or

       expenses. Notwithstanding anything to the contrary herein, the fees, costs, and expenses of the

       DIP Lender and the Prepetition Secured Party, whether incurred prior to or after the Petition Date,

       including, without limitation, all fees referred to in the DIP Loan Documents and all attorneys’

       fees and expenses, shall be deemed fully earned and non-refundable as of the date of this Interim

       Order, except with respect to reimbursement of professional fees and expenses, which shall be


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       subject as to postpetition fees only to the fee review procedures set forth below in Paragraph 6(i)

       and (ii) below.

                       (i)        The payment of the fees, expenses and disbursements set forth in this

       paragraph of this Interim Order shall be made within ten (10) days after the receipt by the Debtors,

       the Committee, and the U.S. Trustee (the “Review Period”) of invoices thereof (the “Invoiced

       Fees”) (subject in all respects to applicable privilege or work product doctrines), including a

       summary description of the services provided and the expenses incurred by the applicable

       professional arising after the Petition Date, as applicable; provided, however, that any such invoice

       (i) may be redacted to protect privileged, confidential or proprietary information and (ii) shall not

       be required to contain individual time detail.

                      (ii)        The Debtors, the Committee and the U.S. Trustee may preserve their right

       to dispute the reasonableness of any portion of the Invoiced Fees (the “Disputed Invoiced Fees”)

       if, within the Review Period, the Debtors, the Committee or the U.S. Trustee files with the Court

       a motion or other pleading, on at least ten (10) calendar days prior written notice to the DIP Lender

       and the Prepetition Secured Party, as applicable, of any hearing on such motion or other pleading,

       which must contain a specific basis for the objection to the Disputed Invoiced Fees and

       quantification of the disputed amount of the fees and expenses invoiced. The Debtors’ payment of

       the Invoiced Fees (other than any Disputed Invoiced Fees pending resolution of such dispute by

       the parties or disposition by the Court) shall not be delayed based on any objections thereto, and

       the relevant professional shall only be required to disgorge amounts objected to upon being “so

       ordered” pursuant to a final non-appealable order of this Court. None of the Invoiced Fees shall be

       subject to Court approval or required to be maintained in any specific format, and no recipient of




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       any payment on account thereof shall be required to file with respect thereto any interim or final

       fee application with the Court.

                7.        Amendments, Consents, Waivers, and Modifications. The Debtors may enter into

       any amendments, consents, waivers, or modifications to the DIP Loan Documents in accordance

       with the terms of the DIP Loan Documents, and with consent of the Prepetition Secured Party,

       without need for further notice and hearing or any order of this Court; provided, however, that any

       material amendment, waiver, or modification shall require Court approval.              Copies of all

       amendments, waivers, modifications, whether or not material, shall be filed with the Court and

       provided by the Debtors to counsel to the Creditors’ Committee and the U.S. Trustee.

                                  DIP LIENS AND DIP SUPERPRIORITY CLAIMS

                8. DIP Liens & Priority.

                          (a)     To secure the DIP Obligations and other obligations of the Debtors under

       the DIP Facility and DIP Loan Documents, the DIP Lender is hereby granted for the benefit of

       itself, pursuant to and in accordance with sections 361, 362, 364(c)(2), 364(c)(3), and 364(d) of

       the Bankruptcy Code, subject to the Carve Out at all times, valid, enforceable, and fully perfected:

       (i) first priority liens, pari passu in all respects with any valid, perfected and unavoidable liens of

       the Prepetition Secured Party (including the Adequate Protection Liens), on all property of the

       Debtors’ estates in these Chapter 11 Cases that is not subject to valid, perfect, and non-avoidable

       liens as of the Petition Date, excluding claims and causes of action under sections 502(d), 544,

       545, 547, 548, 549, and 550 of the Bankruptcy Code (collectively, “Avoidance Actions”);

       provided, however, upon entry of the Final Order, liens in favor of the DIP Lender shall attach to

       and be perfected in any proceeds of Avoidance Actions; (ii) junior liens, pari passu in all respects

       with any valid, perfected and unavoidable liens of the Prepetition Secured Party (including the


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       Adequate Protection Liens), on all property of the Debtors’ estates in these Chapter 11 Cases, that

       is subject to valid, perfected, and non-avoidable liens in existence as of the Petition Date (other

       than the Prepetition Senior Liens), including without limitation any valid, perfected and

       enforceable statutory liens or related claims under the Perishable Agricultural Commodities Act

       (PACA) or applicable state law, or to valid liens in existence at the time of the Petition Date that

       are perfected subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy

       Code; and (iii) first priority, senior liens, pari passu in all respects with any valid, perfected and

       unavoidable liens of the Prepetition Secured Party (including the Adequate Protection Liens), on

       all of the property (such property, together with the property described in subsections (i) and (ii)

       above, the “DIP Collateral”) of the Debtors’ estates in these Chapter 11 Cases (including, without

       limitation, inventory, accounts receivable, general intangibles, chattel paper, owned real estate,

       real property leaseholds, fixtures and machinery and equipment fixtures and machinery and

       equipment, deposit accounts, patents, copyrights, trademarks, tradenames, rights under license

       agreements, other intellectual property and capital stock of subsidiaries, and all proceeds thereof)

       that is subject to valid, perfect, and non-avoidable liens of only the Prepetition Secured Party as of

       the Petition Date (subsections (i), (ii), and (iii) collectively, the “DIP Liens”); provided that the

       DIP Liens do not prime any valid, perfected and enforceable statutory claims or related claims

       under the Perishable Agricultural Commodities Act (PACA) or applicable state law, to the extent

       such claims or liens are senior to the Prepetition Senior Liens as of the Petition Date..

                          (b)     The DIP Liens shall be effective immediately upon the entry of this Interim

       Order and shall not at any time be made subject or subordinated to, or made pari passu with (except

       with respect to any valid, perfected and enforceable liens of the Prepetition Secured Party

       (including the Adequate Protection Liens) as set forth herein, which shall be pari passu to the DIP


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       Liens), any other lien, security interest or claim existing as of the Petition Date, or created under

       sections 363 or 364(d) of the Bankruptcy Code or otherwise, other than prior payment of the Carve

       Out.

                          (c)     The DIP Liens shall be and hereby are deemed fully perfected liens and

       security interests, effective and perfected upon the date of this Interim Order, without the necessity

       of execution by the Debtors of mortgages, security agreements, pledge agreements, financing

       agreements, financing statements, account control agreements, or any other agreements or

       instruments, such that no additional actions need by taken by the DIP Lender to perfect such

       interests. AnyThe DIP Liens are hereby deemed fully perfected security interests on the proceeds

       of the Debtors’ contracts and leases. Subject to entry of a Final Order, any provision of any lease,

       loan document, easement, use agreement, covenant, license, contract, organizational document, or

       other instrument or agreement that requires the consent or approval of one or more landlords,

       licensors or other parties, or requires the payment of any fees or obligations to any governmental

       entity, non-governmental entity or any other person, in order for any of the Debtors to pledge,

       grant, mortgage, sell, assign, or otherwise transfer any fee or leasehold interest or the proceeds

       thereof or other collateral, is and shall be deemed to be inconsistent with the provisions of the

       Bankruptcy Code, and shall have no force or effect with respect to the transactions granting the

       DIP Lender for the benefit of itself, a security interest in such fee, leasehold, or other interest or

       other collateral or the proceeds of any assignment, sale, or other transfer thereof, by any of the

       Debtors in favor of the DIP Lender, for the benefit of itself, in accordance with the terms of the

       DIP Credit Agreement and the other DIP Loan Documents.

                9.        DIP Lender’s Superpriority Claim. The DIP Lender is hereby granted an allowed

       superpriority administrative expense claim (the “DIP Superpriority Claim”), which claim shall be


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       pari passu with the Adequate Protection Superpriority Claim and the Prepetition Senior

       Obligations, pursuant to section 364(c)(1) of the Bankruptcy Code in each of the Chapter 11 Cases

       and in any successor case(s) under the Bankruptcy Code (including any case or cases under chapter

       7 of the Bankruptcy Code, the “Successor Case(s)”) for all DIP Obligations, having priority over

       any and all other claims against the Debtors, now existing or hereafter arising, of any kind

       whatsoever, including, without limitation, all administrative expenses of the kinds specified in or

       arising or ordered under sections 105(a), 326, 328, 330, 331, 503(a), 503(b), 506(c) (subject to

       entry of a Final Order), 507(a), 507(b), 546(c) (subject of entry of a Final Order), 546(d) (subject

       to entry of a Final Order), 726, 1113, and 1114 and any other provision of the Bankruptcy Code

       or otherwise, whether or not such expenses or claims may become secured by a judgment lien or

       other non-consensual lien, levy or attachment, which allowed DIP Superpriority Claim shall be

       payable from and have recourse to all prepetition and postpetition property of the Debtors and all

       proceeds thereof including, without limitation, upon entry of the Final Order, any proceeds or

       property recovered in connection with the pursuit of Avoidance Actions. The DIP Superpriority

       Claim granted in this paragraph shall be subject and subordinate in priority of payment only to

       prior payment of the Carve Out; provided that such DIP Superpriority Claim shall have equal

       priority to the Adequate Protection Superpriority Claim. Except as set forth in this Interim Order,

       without the written consent of the DIP Lender and the Prepetition Secured Party, no other

       superpriority claims shall be granted or allowed in these Chapter 11 Cases or in any Successor

       Case and the DIP Superpriority Claim shall be senior in all respects to any superpriority claims

       granted in these Chapter 11 Cases (except the Adequate Protection Superpriority Claim),

       including, without limitation, on account of any break-up fee or expense reimbursement that may

       be granted by the Court in connection with the sale of the Debtors’ assets.


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                10.       Survival of DIP Liens and DIP Superpriority Claim.          The DIP Liens, DIP

       Superpriority Claim, and other rights and remedies granted under this Interim Order to the DIP

       Lender shall continue in this and any Successor Case(s) and shall be valid and enforceable against

       any trustee appointed in any or all of the Debtors’ Chapter 11 Cases and/or upon the dismissal or

       conversion of any or all of the Debtors’ Chapter 11 Cases or any Successor Case(s) and such liens

       and security interests shall maintain their priority as provided in this Interim Order until all of the

       DIP Obligations have been indefeasibly paid in full in cash and the DIP Lender’s commitments

       have been terminated in accordance with the DIP Loan Documents.

                11.       Carve Out. As used in this Interim Order, the “Carve Out” means the sum of: (i) all

       fees required to be paid to the Clerk of the Court and to the Office of the United States Trustee

       under section 1930(a) of title 28 of the United States Code and section 3717 of title 31 of the

       United States Code, (ii) all unpaid professional fees and disbursements incurred by the Debtors

       and any statutory committees appointed in these Chapter 11 Cases prior to the occurrence of an

       Event of Default and notice thereof delivered to the Debtors, but only to the extent allowed by the

       Court at any time and only to the extent of amounts included in the Approved Budget, and (iii) at

       any time after the occurrence of an Event of Default and notice thereof delivered to the Borrower,

       to the extent allowed at any time, whether before or after delivery of such notice, whether by

       interim order, procedural order or otherwise, the payment of accrued and unpaid professional fees,

       costs and expenses (collectively, the “Professional Fees”) incurred by persons or firms retained by

       the Debtors and the committee and allowed by the Court, not in excess of $100,000 for the Debtors’

       professionals and the Creditors’ Committee professionals (the “Carve Out Cap”). On a weekly

       basis, the fees and expenses of the Debtors’ and Creditors’ Committee’s professionals provided in

       the Budget shall be funded into an escrow account with Young Conaway Stargatt & Taylor, LLP


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       to satisfy the professional fees included within the Carve Out (the “Professional Fee Reserve”).

       The funds on deposit in the Professional Fee Reserve shall be available to satisfy the obligations

       owed to the Debtors’ and committee’s professionals benefiting from the Carve Out, and the DIP

       Lender and the Prepetition Secured Party, on a pari passu basis, shall have a security interest upon

       any residual interest in the Professional Fee Reserve available following satisfaction in cash in full

       of all obligations benefiting from the Carve Out; provided, further, that the Carve Out shall not be

       available to pay any such Professional Fees incurred in connection with the initiation or

       prosecution of any claims, causes of action, adversary proceedings or other litigation against the

       DIP Lender, the Prepetition Secured Party, the DIP Lender’s representatives or professionals or

       the Prepetition Secured Party’s representatives or professionals, and nothing herein shall impair

       the right of any party to object to the reasonableness of any such fees or expenses to be paid by the

       Debtors’ estates.

                                          ADEQUATE PROTECTION

                12.       Adequate Protection for Prepetition Secured Party. Pursuant to sections 361,

       363(e), and 364(d) of the Bankruptcy Code, as adequate protection for any diminution in the value

       of the Prepetition Collateral resulting from, among other things: (i) the incurrence of the DIP

       Obligations secured by the DIP Liens, (ii) the use of Cash Collateral, (iii) the imposition of the

       automatic stay, (iv) the subordination of their right to receive payment from the proceeds of the

       Prepetition Collateral to the prior payment of the Carve Out, or (v) otherwise (collectively, the

       “Diminution Claim”), the Prepetition Secured Party is hereby granted (in each case equal in

       priority to the DIP Liens and the DIP Superpriority Claim and subject to prior payment of the

       Carve Out) the following (collectively, the “Adequate Protection Obligations”):




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                          (a)     Adequate Protection Superpriority Claim. To the extent of any Diminution

       Claim, the Prepetition Secured Party is hereby granted an allowed superpriority administrative

       expense claim (the “Adequate Protection Superpriority Claim”), which claim shall be pari passu

       with the DIP Superpriority Claim, pursuant to section 507(b) of the Bankruptcy Code in each of

       the Chapter 11 Cases and in any Successor Case(s), having priority over any and all other claims

       against the Debtors, now existing or hereafter arising, of any kind whatsoever, including, without

       limitation, all administrative expenses of the kinds specified in or arising or ordered under sections

       105(a), 326, 328, 330, 331, 503(a), 503(b), 506(c) (subject to entry of a Final Order), 507(a),

       507(b), 546(c) (subject to entry of a Final Order), 546(d) (subject to entry of a Final Order), 726,

       1113, and 1114 and any other provision of the Bankruptcy Code or otherwise, whether or not such

       expenses or claims may become secured by a judgment lien or other non-consensual lien, levy or

       attachment, which Adequate Protection Superpriority Claim shall be payable from and have

       recourse to all prepetition and postpetition property of the Debtors and all proceeds thereof

       including, without limitation, upon entry of the Final Order, any proceeds or property recovered

       in connection with the pursuit of Avoidance Actions. The Adequate Protection Superpriority

       Claim granted in this paragraph shall be subject and subordinate in priority of payment only to

       prior payment of the Carve Out; provided, however, for the avoidance of doubt, the Adequate

       Protection Superpriority Claim shall have equal priority to the DIP Superpriority Claim.

                          (b)     Adequate Protection Liens. Subject to paragraph 14 of this Interim Order,

       to secure the Prepetition Senior Obligations, the Prepetition Secured Party is hereby granted

       (effective and perfected upon the date of this Interim Order and without the necessity of execution

       by the Debtors of mortgages, security agreements, pledge agreements, financing statements, and

       other agreements or instruments) valid, perfected, postpetition first priority security interests and


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       liens (the “Adequate Protection Liens”) in and on all of the DIP Collateral; provided, however,

       that the Adequate Protection Liens shall be (i) pari passu with the DIP Liens and/or payment of

       any DIP Obligations on account thereof, and subordinate to (ii) the Carve Out. The Adequate

       Protection Liens shall be valid and enforceable against any trustee or other estate representative

       appointed in the Chapter 11 Cases or any Successor Case, upon the conversion of any of the

       Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code (or in any other Successor

       Case), and/or upon the dismissal of any of the Chapter 11 Cases or any Successor Case.

                          (c)     Payment of Postpetition Fees and Expenses. Pursuant to paragraph 6 of this

       Order, as further adequate protection for the Diminution Claim, the Prepetition Secured Party shall

       receive monthly payment from the Debtors to reimburse the reasonable professional fees and

       expenses, including fees and expenses of counsel, incurred by the Prepetition Secured Party both

       before and after the Petition Date, subject to the fee and expense procedures set forth in Paragraph

       6 of this Order.

                          (d)     Accrual of PrepetitionLender Fees and Interest. As further adequate

       protection for the Diminution Claim, any lender fees and interest of the Prepetition Secured Party,

       including default rate interest, duewhether due before or after the Petition Date under the

       Prepetition Senior Loan Documents to the Prepetition Secured Party shall accrue as set forth

       therein and pursuant to the DIP Documents and shall be due and payable to the Prepetition Secured

       Party as a condition precedent to the termination of the DIP Loan Documents.

                                       RESTRICTION ON USE OF FUNDS

                13.       Notwithstanding anything in this Interim Order or the DIP Loan Documents to the

       contrary, no proceeds of the DIP Facility, any DIP Collateral or Prepetition Collateral (including,

       without limitation, Cash Collateral) or any portion of the Carve Out may be used to pay any claims


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       for services rendered by any professionals retained by the Debtors, any creditor or party in interest,

       a Creditors’ Committee, any trustee appointed under these Chapter 11 Cases or any Successor

       Cases, or any other party to (a) request authorization to obtain postpetition loans or other financial

       accommodations pursuant to section 364(c) or (d) of the Bankruptcy Code or otherwise, other than

       from the DIP Lender under the DIP Loan Documents, unless the proceeds of such loans or

       accommodations are or will be sufficient, and will be used, to indefeasibly pay in full in cash all

       DIP Obligations, the Prepetition Senior Obligations, and Adequate Protection Obligations, or

       (b) investigate (except as set forth in Paragraph 14 below), assert, join, commence, support or

       prosecute any action or claim, counter-claim, action, proceeding, application, motion, objection,

       defense, or other contested matter seeking any order, judgment, determination or similar relief

       against, or adverse to the interests of, in any capacity, the DIP Lender, the Prepetition Secured

       Party or any of their respective officers, directors, employees, agents, attorneys, affiliates, assigns,

       or successors, with respect to any transaction, occurrence, omission, or action, including, without

       limitation, (i) any Avoidance Actions or other actions arising under chapter 5 of the Bankruptcy

       Code; (ii) any action relating to any act, omission or aspect of the relationship between or among

       any of the DIP Lender or the Prepetition Secured Party, on the one hand, and the Debtors or any

       of their affiliates, on the other; (iii) any action with respect to the validity and extent of the DIP

       Obligations or the Prepetition Senior Obligations or the validity, extent, and priority of the DIP

       Liens or Prepetition Senior Liens; (iv) any action seeking to invalidate, set aside, avoid or

       subordinate, in whole or in part the DIP Liens or the Prepetition Senior Liens; (v) any action that

       has the effect of preventing, hindering or delaying (whether directly or indirectly) the DIP Lender

       or the Prepetition Secured Party in respect of the enforcement of their respective liens and security

       interests in the DIP Collateral or Cash Collateral; (vi) pay any Claim of a Creditor (as such terms


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       are defined in the Bankruptcy Code) inconsistent with the Budget without the prior written consent

       of the DIP Lender (vii) use or seek to use Cash Collateral or sell or otherwise dispose of DIP

       Collateral, unless otherwise permitted hereby or by the DIP Loan Documents. Notwithstanding

       the foregoing, up to $10,000 in the aggregate of the DIP Facility, DIP Collateral, Cash Collateral,

       Prepetition Collateral and Carve Out may be used by a Creditors’ Committee to investigate the

       Prepetition Senior Obligations, the Prepetition Senior Liens, and/or claims against the Releasees

       prior to the expiration of the Challenge Period (as each is defined below).

                14.       Reservation of Certain Third Party Rights and Bar of Challenges and Claims.

                          (a)     The Debtors’ acknowledgements and stipulations set forth in Paragraphs D

       and E above (the “Debtors’ Stipulations”) shall be binding upon the Debtors in all circumstances

       upon entry of this Interim Order.

                          (b)     The Debtors’ Stipulations shall also be binding upon each other party in

       interest, including any Creditors’ Committee unless such Creditors’ Committee or any other party

       in interest having standing, including any Chapter 11 trustee (or if the Chapter 11 Cases are

       converted to cases under chapter 7 prior to the expiration of the Challenge Period (as defined

       below), the chapter 7 trustee in such Successor Case(s)): (a) commences a Challenge (as defined

       below) within fortyseventy-five (4075) calendar days following the date of entry of this Interim

       Order, or as otherwise expressly agreed in writing by the Prepetition Senior Lender in its sole

       discretion (such time period shall be referred to as the “Challenge Period”) and (b) obtains a final,

       non-appealable order in favor of such party in interest sustaining any such Challenge in any such

       timely-filed contested matter, adversary proceeding, or other action. For the avoidance of doubt,

       any trustee appointed or elected in these Chapter 11 Cases shall, until the expiration of the period

       provided herein for asserting Challenges, and thereafter for the duration of any adversary


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       proceeding or contested matter commenced pursuant to this paragraph (whether commenced by

       such trustee or commenced by any other party in interest on behalf of the Debtors’ estates), be

       deemed to be a party other than the Debtors and shall not, for purposes of such adversary

       proceeding or contested matter, be bound by the acknowledgments, admissions, confirmations and

       stipulations of the Debtors in this Interim Order.

                          (c)     A “Challenge” means with respect to any party that has obtained standing

       to commence and has filed (A) an adversary proceeding challenging or otherwise objecting to the

       admissions, stipulations, findings, or releases included in the Debtors’ Stipulations, or (B) an

       adversary proceeding against the Prepetition Secured Party in connection with or related to the

       Prepetition Senior Obligations or the Prepetition Senior Liens, or the actions or inactions of any

       of the Prepetition Secured Party arising out of or related to the Prepetition Senior Obligations, the

       Prepetition Senior Liens, or otherwise, including, without limitation, any claim against Prepetition

       Secured Party in the nature of a “lender liability” cause of action, setoff, counterclaim, or defense

       to the Prepetition Senior Obligations or the Prepetition Senior Liens (including, but not limited to,

       those under sections 506, 544, 547, 548, 549, 550, and/or 552 of the Bankruptcy Code ((A) and

       (B) collectively, the “Challenges” and, each individually, a “Challenge”). Nothing in this Order

       shall be deemed to provide automatic standing to any party in interest.

                          (d)     With respect to any party interest that (i) fails to raise a proper Challenge

       within the Challenge Period or (ii) raises a proper Challenge within the Challenge Period which is

       fully and finally adjudicated in favor of the Prepetition Secured Party, then for all purposes in these

       Chapter 11 Cases and any Successor Case(s), (i) all payments made to or for the benefit of the

       Prepetition Secured Party, pursuant to, or otherwise authorized by, this Interim Order or otherwise

       (whether made prior to, on, or after the Petition Date) shall be indefeasible and not be subject to


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       counterclaim, set-off, subordination, recharacterization, defense, or avoidance, (ii) any and all such

       Challenges by any party in interest (including, without limitation, a Creditors’ Committee, any

       chapter 11 trustee, and/or any examiner or other estate representative appointed in the Chapter 11

       Cases, and any chapter 7 trustee and/or examiner or other estate representative appointed in any

       Successor Case) shall be deemed to be forever released, waived, and barred, (iii) the Prepetition

       Senior Obligations shall be deemed to be a fully allowed and fully secured claim within the

       meaning of section 506 of the Bankruptcy Code, not subject to counterclaim, setoff, subordination,

       recharacterization, reduction, defense or avoidance, (iv) any and all prepetition claims or causes

       of action against the Prepetition Secured Party relating in any way to the Debtors shall be forever

       waived and released by the Debtors, the Debtors’ estates, and all creditors, interest holders, a

       Creditors’ Committee and other parties in interest in the Chapter 11 Cases and any Successor Case

       and (v) all matters not subject to the Challenge, including, without limitation, all findings, the

       Debtors’ Stipulations in Paragraphs D and E, all waivers, releases set forth herein, affirmations

       and other stipulations as to the priority, extent and validity as to the claims, liens and interests of

       the Prepetition Secured Party shall be of full force and effect upon the Debtors, the Debtors’

       estates, and all creditors, equity interest holders, a Creditors’ Committee, and other parties in

       interest in the Chapter 11 Cases and any Successor Case.

                15.       Prohibition on Granting of Additional Liens and Interests. It shall constitute an

       event of default, the DIP Lender shall have no further obligation to provide financing under the

       DIP Loan Documents, and the DIP Lender and the Prepetition Secured Party shall be entitled to

       enforce their respective rights under the DIP Loan Documents and this Interim Order if the Debtors

       seek, or this Court grants, any liens, claims, interests or priority status, other than the Carve Out,

       having a lien or administrative priority superior to or pari passu with that of the DIP Liens, the


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       DIP Superpriority Claim, the Prepetition Senior Liens, the Adequate Protection Superpriority

       Claim, or the Adequate Protection Liens granted by this Interim Order, while any portion of the

       DIP Obligations or Prepetition Senior Obligations remain outstanding, or any commitment under

       the DIP Loan Documents or Prepetition Senior Loan Documents remains in effect, without the

       prior written consent of the DIP Lender and the Prepetition Secured Party, respectively.

                16.       Release. Subject to entry of the Final Order, the release, discharge, waivers,

       settlements, compromises, and agreements set forth in this Paragraph 16 shall be deemed effective

       upon entry of the Interim Order, and subject only to the rights set forth in Paragraph 14 above.

       The Debtors, on behalf of themselves and their estates (including any successor trustee or other

       estate representative in these Chapter 11 Cases or any Successor Case) forever and irrevocably (a)

       release, discharge, and acquit the DIP Lender, the Prepetition Secured Party, and their former,

       current or future officers, employees, directors, agents, representatives, owners, members,

       partners, financial advisors, legal advisors, shareholders, managers, consultants, accountants,

       attorneys, affiliates, and predecessors in interest (collectively, the “Releasees”) of and from any

       and all claims, demands, liabilities, responsibilities, disputes, remedies, causes of action,

       indebtedness, and obligations, of every type, including, without limitation, any claims arising from

       any actions relating to any aspect of the relationship between the DIP Lender or the Prepetition

       Secured Party, on the one hand, and the Debtors and their affiliates, on the other hand, including

       any equitable subordination claims or defenses, with respect to or relating to the DIP Facility, the

       DIP Liens, the Adequate Protection Liens, the DIP Loan Documents, the Prepetition Senior Loan

       Documents, the Prepetition Senior Loan Obligations, the Prepetition Senior Liens, any and all

       claims and causes of action arising under the Bankruptcy Code; and (b) waive any and all defenses

       (including, without limitation, offsets and counterclaims of any nature or kind) as to the validity,


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       perfection, priority, enforceability and non-avoidability of the Prepetition Senior Obligations and

       the Prepetition Senior Liens.

                             REMEDIES; MODIFICATION OF AUTOMATIC STAY

                17.       Remedies and Stay Modification.

                          (a)     The automatic stay provisions of section 362 of the Bankruptcy Code are,

       to the extent applicable, modified without further application or motion to, or order from, the

       Court, to the extent necessary so as to permit the following:

                                        i.      Whether or not a Default or an Event of Default under the

       DIP Loan Documents or a default by any of the Debtors of any of their obligations under this

       Interim Order has occurred (A) the right to file or record any financing statements, mortgages or

       other instruments or other documents to evidence the security interests in and liens upon the DIP

       Collateral, (B) the right to charge and collect any interest, fees, costs and other expenses accruing

       at any time under the DIP Loan Documents as provided therein, and (C) the right to give the

       Debtors any notice provided for in any of the DIP Loan Documents or this Interim Order;

                                       ii.      Subject to Paragraph 17(a)(iv) below, the automatic stay

       provisions of section 362 of the Bankruptcy Code are modified without the need for further Court

       order to permit the DIP Lender and the Prepetition Secured Party, each in its sole discretion but

       with notice to the other, upon the occurrence and during the continuance of an Event of Default,

       and without any interference from the Debtors or any other party interest, to (I)(A) in the case of

       the DIP Lender, cease providing the DIP Facility and/or suspend or terminate the commitments

       under the DIP Loan Documents, (B) in the case of the DIP Lender, declare all DIP Obligations

       immediately due and payable, (C) in the case of the Prepetition Secured Party, withdraw its consent

       to the Debtors’ continuing use of Cash Collateral and (II) subject to five (5) calendar days’ prior


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       written notice (which may be delivered by electronic mail) (the “Remedies Notice Period”) to the

       Debtors, their counsel, the Prepetition Secured Party or the DIP Lender (as applicable), counsel to

       any Creditors’ Committee and the U.S. Trustee, to exercise all other rights and remedies provided

       for in the DIP Loan Documents, this Interim Order or under other applicable bankruptcy and non-

       bankruptcy law including, without limitation, the right to (A) in the case of the DIP Lender and

       the Prepetition Secured Party, take any actions reasonably calculated to preserve or safeguard the

       DIP Collateral or to prepare the DIP Collateral for sale; (B) in the case of the DIP Lender, foreclose

       or otherwise enforce the DIP Liens on any or all of the DIP Collateral (subject to the rights of the

       Prepetition Secured Party therein); (C) in the case of the Prepetition Secured Party, set off any

       amounts held as Cash Collateral (including, without limitation, in any Cash Collateral account

       maintained with the Prepetition Secured Party) (subject to the rights of the DIP Lender, and such

       rights held by the DIP Lender shall be pari passu with all such rights granted to the Prepetition

       Secured Party herein); and/or (D) exercise any other default-related rights and remedies under the

       under the DIP Loan Documents or this Interim Order. The Remedies Notice Period shall run

       concurrently with any notice period provided for under the DIP Loan Documents;

                                   iii.       Immediately upon the occurrence of an Event of Default

       under the DIP Loan Documents or any of their obligations under this Interim Order, the DIP

       Lender may charge interest at the default rate set forth in the DIP Loan Documents without being

       subject to the Remedies Notice Period;

                                   iv.        The automatic stay of section 362(a) of the Bankruptcy

       Code, to the extent applicable, shall be deemed terminated without the necessity of any further

       action by the Court in the event that the Debtors, the Creditors’ Committee, if any, and/or the U.S.

       Trustee or any party in interest with requisite standing have not obtained an order from this Court


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       to the contrary prior to the expiration of the Remedies Notice Period. During the Remedies Notice

       Period, the Debtors shall not be permitted to use any Cash Collateral or any DIP Facility proceeds

       except to pay expenses reasonably necessary to preserve the Debtors' going concern value, which

       amount shall not exceed $670,000. The Debtors, a Creditors’ Committee, if any, the U.S. Trustee,

       and any other party with requisite standing, shall have the burden of proof at any hearing on any

       request by them to reimpose or continue the automatic stay of Section 362(a) of the Bankruptcy

       Code or to obtain any other injunctive relief;

                                    v.       If the DIP Lender or the Prepetition Secured Party is entitled,

       and has elected in accordance with the provisions hereof, to enforce its respective liens or security

       interests or exercise any other default-related remedies following expiration of the Remedies

       Notice Period, the Debtors shall cooperate with the DIP Lender and the Prepetition Secured Party

       in connection with such enforcement by, among other things, (A) providing at all reasonable times

       access to the Debtors’ premises to representatives or agents of the DIP Lender and the Prepetition

       Secured Party (including any collateral liquidator or consultant), (B) providing the DIP Lender,

       the Prepetition Secured Party, and their representatives or agents, at all reasonable times access to

       the Debtors’ books and records and any information or documents requested by the DIP Lender,

       the Prepetition Secured Party, or their respective representatives, (C) performing all other

       obligations set forth in the DIP Loan Documents or hereunder, and (D) taking reasonable steps to

       safeguard and protect the DIP Collateral, and the Debtors shall not otherwise interfere with or

       actively encourage others to interfere with the DIP Lender’s and the Prepetition Secured Party’s

       enforcement of rights;

                                   vi.       Upon the occurrence and during the continuance of an Event

       of Default under the DIP Loan Documents or a violation of the terms of this Interim Order, subject


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       to payment of the Carve Out and payment of the expenses provided in subsection (iv) of this

       Paragraph, the DIP Lender shall have no further obligation to provide financing under the DIP

       Loan Documents and the DIP Lender and the Prepetition Secured Party shall have no further

       obligation to permit the continued use of Cash Collateral;

                                     vii.       Upon the occurrence and during the continuance of an Event

       of Default under the DIP Loan Documents or a violation of the terms of this Interim Order, subject

       to the Remedies Notice Period, the DIP Lender and the Prepetition Secured Party may at all times

       continue to collect and sweep cash as provided herein or as provided in the DIP Loan Documents;

       and

                                     viii.      This Court shall retain exclusive jurisdiction to hear and

       resolve any disputes and enter any orders required by the provisions of this Interim Order and

       relating to the application, re-imposition or continuance of the automatic stay of Section 362(a) of

       the Bankruptcy Code or other injunctive relief requested.

                                                MISCELLANEOUS

                18.       Limitation of Section 506(c) Claims. Subject to entry of a Final Order, no costs or

       expenses of administration which have been or may be incurred in the Chapter 11 Cases or any

       Successor Case at any time shall be surcharged against, and no person may seek to surcharge any

       costs or expenses of administration against the DIP Lender or the Prepetition Secured Party, or

       any of their respective claims, the Carve Out, the Prepetition Collateral, or the DIP Collateral,

       pursuant to sections 105 or 506(c) of the Bankruptcy Code or otherwise, without the prior written

       consent of the DIP Lender and the Prepetition Secured Party. No action, inaction or acquiescence

       by the DIP Lender or the Prepetition Secured Party shall be deemed to be or shall be considered

       evidence of any alleged consent to a surcharge against the DIP Lender, the Prepetition Secured


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       Party, any of their respective claims, the Carve Out, the DIP Collateral, or the Prepetition

       Collateral.

                19.       No Marshaling. Subject to entry of a Final Order, the DIP Lender and the

       Prepetition Secured Party shall not be subject to the equitable doctrine of “marshaling” or any

       other similar doctrine with respect to any of the DIP Collateral or Prepetition Collateral. Without

       limiting the generality of the immediately preceding sentence, no party shall be entitled, directly

       or indirectly, to direct the exercise of remedies or seek (whether by order of this Court or otherwise)

       to marshal or otherwise control (i) the disposition of the DIP Collateral after an Event of Default

       under the DIP Loan Documents, or termination or breach under the DIP Loan Documents, or (ii)

       the disposition of the Prepetition Collateral after an event of default under the Prepetition Senior

       Loan Documents, or termination or breach under the Prepetition Senior Loan Documents.

                20.       Additional Perfection Measures. The DIP Liens and the Adequate Protection Liens

       shall be perfected by operation of law immediately upon entry of this Interim Order. None of the

       Debtors, the DIP Lender, or the Prepetition Secured Party shall be required to enter into or obtain

       landlord waivers, mortgagee waivers, bailee waivers, warehouseman waivers or other waiver or

       consent, or to file or record financing statements, mortgages, deeds of trust, leasehold mortgages,

       control agreements, notices of lien or similar instruments in any jurisdiction (including, but not

       limited to control agreements relating to bank accounts, trademark, copyright, trade name or patent

       assignment filings with the United States Patent and Trademark Office, Copyright Office or any

       similar agency with respect to intellectual property, or filings with any other federal

       agencies/authorities), or obtain consents from any licensor or similarly situated party-in-interest,

       or take any other action in order to validate and to perfect the DIP Liens or the Adequate Protection

       Liens.


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                       (i)        If the DIP Lender or the Prepetition Secured Party, each in their sole

       discretion but with notice to the other, chooses to take any action to obtain consents from any

       landlord, licensor or other party in interest, to file mortgages, financing statements, notices of lien

       or similar instruments, or to otherwise record or perfect such security interests and liens, the DIP

       Lender and the Prepetition Secured Party is each hereby authorized, but not directed to, take such

       action or to request that Debtors take action reasonably requested on its behalf (and Debtors are

       hereby authorized to take such action) and:

                                  (a)    any such documents or instruments shall be deemed to have been

                          recorded and filed as of the time and on the date of entry of this Interim Order; and

                                  (b)    no defect in any such act shall affect or impair the validity,

                          perfection, and enforceability of the liens granted hereunder.

                      (ii)        In lieu of obtaining such consents or filing any such mortgages, financing

       statements, notices of lien or similar instruments, the DIP Lender or the Prepetition Secured Party

       may, each in its sole discretion but with notice to the other, choose to file a true and complete copy

       of this Interim Order in any place at which any such instruments would or could be filed, together

       with a description of the DIP Collateral and such filing by the DIP Lender or the Prepetition

       Secured Party shall have the same effect as if such mortgages, deeds of trust, financing statements,

       notices of lien or similar instruments had been filed or recorded at the time and on the date of entry

       of this Interim Order.

                21.       Application of Collateral Proceeds. To the extent required by this Interim Order

       and the DIP Loan Documents, subject to the Remedies Notice Period, after an Event of Default,

       the Debtors are hereby authorized and directed to remit to the DIP Lender and the Prepetition

       Secured Party, on a pari passu basis, subject to the payment of the Carve Out, one-hundred percent


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       (100%) of all collections on, and proceeds of, the DIP Collateral, and the automatic stay provisions

       of section 362 of the Bankruptcy Code are hereby modified to permit the DIP Lender and the

       Prepetition Secured Party to retain and apply all collections, remittances, and proceeds of the DIP

       Collateral in accordance with the DIP Loan Documents and this Interim Order. In furtherance of

       the foregoing, (a) all cash, securities, investment property and other items of any Debtor deposited

       with any bank or other financial institution shall be subject to a perfected, first priority security

       interest in favor of the DIP Lender (or its designee), pari passu to the interests of the Prepetition

       Secured Party and (b) upon the expiration of the Remedies Notice Period, each bank or other

       financial institution with an account of any Debtor, including the Prepetition Secured Party as

       depository bank, is hereby authorized and instructed to coordinate with the DIP Lender regarding

       any instructions directing the disposition of cash, securities, investment property and other items

       from time to time credited to such account, without further consent of any Debtor, to secure the

       payment of the DIP Obligations and the Prepetition Senior Obligations indefeasibly in full on a

       pari passu basis, at which time exclusive control shall automatically revert to the Debtors.

                22.       Access to Collateral. Notwithstanding anything contained herein to the contrary,

       and without limiting any other rights or remedies of the DIP Lender or the Prepetition Secured

       Party contained in this Interim Order, the DIP Loan Documents or the Prepetition Senior Loan

       Documents, or otherwise available at law or in equity, and subject to the terms of the DIP Loan

       Documents, upon three (3) business days’ written notice to the landlord, lienholder, licensor or

       other third party owner of any leased or licensed premises or intellectual property that an Event of

       Default under the DIP Loan Document or a default by any of the Debtors of any of their obligations

       under this Interim Order has occurred and is continuing, the DIP Lender or the Prepetition Secured

       Party (i) may, unless otherwise provided in any separate agreement by and between the applicable


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       landlord or licensor and the DIP Lender or and the Prepetition Secured Party (the terms of which

       shall be reasonably acceptable to the parties thereto), enter upon any leased or licensed premises

       of any of the Debtors for the purpose of exercising any remedy with respect to DIP Collateral

       located thereon and (ii) shall be entitled to all of the Debtors’ rights and privileges as lessee or

       licensee under the applicable leaseleases or license and to use any and all trademarks, trade names,

       copyrights, licenses, patents or any other similar assets of the Debtors, which are owned by or

       subject to a lien of any third party and which are used by the Debtors in their businesses, in either

       the case of subparagraph (i) or (ii) of this paragraph, without interference from lienholders,

       landlords or licensors thereunder, subject to such lienholders, landlords or licensors rights under

       applicable law. Nothing herein shall require the Debtors, the Prepetition Secured Party, or the DIP

       Lender to assume any lease or license under section 365(a) of the Bankruptcy Code as a

       precondition to the rights afforded to the DIP Lender or the Prepetition Secured Party in this

       paragraph, provided, however, that the DIP Lender or the Prepetition Secured Party, as applicable,

       shall compensate any counterparty to a lease, contract, or license for use of such lease, contract, or

       license on a per diem basis.

                23.       Delivery of Documentation. The Debtors (and/or their legal or financial advisors)

       shall deliver to the DIP Lender, counsel to the DIP Lender, counsel to the Prepetition Secured

       Party, and any financial advisors to the DIP Lender or the Prepetition Secured Party, all financial

       reports, Approved Budgets, forecasts, and all other legal or financial documentation, pleadings,

       and/or filings that are either (i) required to be provided (by the Debtors and/or their legal or

       financial advisors) to the DIP Lender, to the Prepetition Secured Party, and/or the DIP Lender’s or

       the Prepetition Secured Lender’s legal and financial advisors pursuant to the DIP Loan Documents,




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       or (ii) reasonably requested by the DIP Lender or the Prepetition Secured Party (or its respective

       legal and financial advisors).

                24.       Access to Books and Records. The Debtors (and/or their legal and financial

       advisors) will (a) keep proper books, records and accounts in accordance with GAAP in which

       full, true and correct entries shall be made of all dealings and transactions in relation to their

       business and activities, (b) cooperate, consult with, and provide to the DIP Lender and the

       Prepetition Secured Party all such information as required or allowed under the DIP Loan

       Documents, the provisions of this Interim Order or that is afforded to the Creditors’ Committee

       and/or the Creditors’ Committee's respective legal or financial advisors, (c) permit, upon two (2)

       business days’ notice and during normal business hours, representatives of the DIP Lender or the

       Prepetition Secured Party to visit and inspect any of their respective properties, to examine and

       make abstracts or copies from any of their respective books and records, to conduct a collateral

       audit and analysis of their respective inventory and accounts, to tour the Debtors’ business

       premises and other properties, and to discuss, and provide advice with respect to, their respective

       affairs, finances, properties, business operations and accounts with their respective officers,

       employees and independent public accountants as often as may reasonably be desired, and (d)

       permit representatives of the DIP Lender or the Prepetition Secured Party to consult with and

       advise the Debtors' management on matters concerning the general status of the Debtors’ business,

       financial condition and operations.

                25.       Credit Bidding. Notwithstanding anything to the contrary in this Order and pursuant

       to section 363(k), the DIP Lender shall have the right to credit bid with respect to any assets on

       which the DIP Lender hold liens, provided that any such bid includes sufficient cash to




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       immediately and indefeasibly satisfy the Prepetition Senior Obligations and the Adequate

       Protection Obligations in full.

                26.       Lenders Not Responsible Persons. In (a) making the decision to provide the DIP

       Facility and consent to the use of Cash Collateral; (b) administering the DIP Facility; (c) extending

       other financial accommodations to the Debtors under the DIP Loan Documents; and (d) making

       the decision to collect the indebtedness and obligations of the Debtors, the DIP Lender and the

       Prepetition Secured Party shall not solely by reason thereof be considered to (x) owe any fiduciary

       obligation to the Debtors or any other party with respect to their exercise of any consent rights

       afforded them under the DIP Loan Documents or this Interim Order or (y) be exercising control

       over any operations of the Debtors or acting in any way as a responsible person, or as an owner or

       operator under any applicable law, including without limitation, any environmental law (including

       but not limited to the Comprehensive Environmental Response, Compensation and Liability Act,

       42 U.S.C. 9601, et seq., the Resource Conservation and Recovery Act, 42 U.S.C. 6901, et seq., as

       either may be amended from time to time, or any similar federal or state statute).

                27.       Successors and Assigns. The DIP Loan DocumentsTerm Sheet and the provisions

       of this Interim Order shall be binding upon the Debtors, DIP Lender, and the Prepetition Secured

       Party and each of their respective successors and assigns, and shall inure to the benefit of the

       Debtors, the DIP Lender, and the Prepetition Secured Party, and each of their respective successors

       and assigns including, without limitation, any trustee, examiner with expanded powers, responsible

       officer, estate administrator or representative, or similar person appointed in a case for any Debtor

       under any chapter of the Bankruptcy Code. The terms and provisions of this Interim Order shall

       also be binding on all of the Debtors’ creditors, any Creditors’ Committee, equity holders, and all




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       other parties in interest, including, but not limited to a trustee appointed under chapter 7 or chapter

       11 of the Bankruptcy Code.

                28.       Binding Nature of Agreement. Each of the DIP Loan Documents to which any of

       the Debtors are or will become a party shall constitute legal, valid, and binding obligations of the

       Debtors party thereto, enforceable in accordance with their terms. The DIP Loan Documents have

       been or will be properly executed and delivered to the DIP Lender and the Prepetition Secured

       Party by the Debtors. Unless otherwise consented to in writing, the rights, remedies, powers,

       privileges, liens, and priorities of the DIP Lender and the Prepetition Secured Party, as applicable,

       provided for in this Interim Order, the DIP Loan Documents, or otherwise shall not be modified,

       altered or impaired in any manner by any subsequent order (including a confirmation or sale order),

       by any plan of reorganization or liquidation in these Chapter 11 Cases, by the dismissal or

       conversion of these Chapter 11 Cases or in any subsequent case under the Bankruptcy Code unless

       and until the DIP Obligations and the Prepetition Senior Obligations have first been indefeasibly

       paid in full in cash and completely satisfied and the commitments terminated in accordance with

       the DIP Loan Documents and this Interim Order.

                29.       Subsequent Reversal or Modification. This Interim Order is entered pursuant to

       sections 363 and 364 of the Bankruptcy Code, and Bankruptcy Rules 4001(b) and (c), granting the

       DIP Lender all protections afforded by section 364(e) of the Bankruptcy Code.

                30.       Collateral Rights. If any party who holds a lien or security interest in DIP Collateral

       or Prepetition Collateral that is junior and/or subordinate to the DIP Liens, the Adequate Protection

       Liens or the Prepetition Senior Liens in such DIP Collateral or Prepetition Collateral receives or

       is paid the proceeds of such DIP Collateral or Prepetition Collateral prior to the indefeasible

       payment in full in cash and the complete satisfaction of (a) all DIP Obligations under the DIP Loan


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       Documents and termination of the commitment in accordance with the DIP Loan Documents, and

       (b) the Prepetition Senior Obligations under the Prepetition Senior Loan Documents, such junior

       or subordinate lienholder shall be deemed to have received, and shall hold, the proceeds of any

       such DIP Collateral or Prepetition Collateral in trust for the DIP Lender and the Prepetition

       Secured Party and shall immediately turn over such proceeds for application by the DIP Lender

       and the Prepetition Secured Party to repay the Prepetition Senior Obligations and the DIP

       Obligations in accordance with the DIP Loan Documents, the Prepetition Senior Loan Documents

       and this Interim Order until indefeasibly paid in full.

                31.       No Waiver. This Interim Order shall not be construed in any way as a waiver or

       relinquishment of any rights that the DIP Lender or the Prepetition Secured Party may have to

       bring or be heard on any matter brought before this Court.

                32.       Limits on Lenders’ Liability. Nothing in this Interim Order and or in any of the

       DIP Loan Documents, the Prepetition Senior Loan Documents, or any other documents related to

       this transaction shall in any way be construed or interpreted to impose or allow the imposition

       upon the DIP Lender or the Prepetition Secured Party of any liability for any claims arising from

       any and all activities by the Debtors or any of their subsidiaries or affiliates in the operation of

       their businesses or in connection with their restructuring efforts.

                33.       Sale/Conversion/Dismissal.

                          (a)     It shall constitute an event of default, the DIP Lender shall have no further

       obligation to provide financing under the DIP Loan Documents, and the DIP Lender and the

       Prepetition Secured Party shall be entitled to enforce their respective rights under the DIP Loan

       Documents and this Interim Order if the Debtors seek, support entry of, or this Court grants, absent

       the prior consent of the DIP Lender and the Prepetition Secured Party, any order that provides for


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       either the sale of the stock of the Debtors or the sale of all or substantially all of the assets of the

       Debtors under section 363 of the Bankruptcy Code to any party unless, in connection with such

       event, the proceeds of such sale are or will be indefeasibly paid to the DIP Lender and the

       Prepetition Secured Party on account of the DIP Obligations and the Prepetition Senior

       Obligations, respectively, and the commitments under the DIP Loan Documents and this Interim

       Order are terminated in accordance therewith on the closing date of such sale.

                34.       Priority of Terms. To the extent of any conflict between or among (a) the express

       terms or provisions of any of the DIP Loan Documents, the Motion, the Requested Relief, any

       other order of this Court, or any other agreements, on the one hand, and (b) the terms and

       provisions of this Interim Order, on the other hand, unless such term or provision herein is phrased

       in terms of “as defined in” “as set forth in” or “as more fully described in” the DIP Loan Documents

       (or words of similar import), the terms and provisions of this Interim Order shall govern.

                35.       No Third Party Beneficiary. Except as explicitly set forth herein, no rights are

       created hereunder for the benefit of any third party, any creditor or any direct, indirect or incidental

       beneficiary.

                36.        Survival. Except as otherwise provided herein, (a) the protections afforded under

       this Interim Order, and any actions taken pursuant thereto, shall survive the entry of an order

       (i) dismissing any of these Chapter 11 Cases or (ii) converting any of these Chapter 11 Cases into

       a case pursuant to chapter 7 of the Bankruptcy Code, and (b) the DIP Liens, the Adequate

       Protection Liens, the DIP Superpriority Claim, and the Adequate Protection Superpriority Claim

       shall continue in these Chapter 11 Cases, in any such successor case or after any such dismissal.

       The DIP Liens, the Adequate Protection Liens, the DIP Superpriority Claim, and the Adequate

       Protection Superpriority Claim shall maintain their priorities as provided in this Interim Order and


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       the DIP Loan Documents, and not be modified, altered or impaired in any way by any other

       financing, extension of credit, incurrence of indebtedness (except with respect to any additional

       financing to be provided by the DIP Lender in accordance with the Final Order), or any conversion

       of any of these Chapter 11 Cases into a case pursuant to chapter 7 of the Bankruptcy Code or

       dismissal of any of these Chapter 11 Cases, or by any other act or omission.

                37.       Adequate Notice/Scheduling of Final Hearing. The notice given by the Debtors of

       the Interim Hearing was given in accordance with Bankruptcy Rules 2002 and 4001, and

       Bankruptcy Local Rules 2002-1, 4001-l(a), and 9013-l(m). Such notice was good and sufficient

       under the particular circumstances. The Debtors shall promptly mail copies of this Interim Order

       and notice of the Final Hearing to any known party affected by the terms of this Interim Order

       and/or Final Order and any other party requesting notice after the entry of this Interim Order. Any

       objection to the relief sought at the Final Hearing shall be made in writing setting forth with

       particularity the grounds thereof, and filed with the Court and served so as to be actually received

       no later than seven (7) days prior to the Final Hearing at 4:00 p.m. (prevailing Eastern Time) by

       the following (with electronic copies of any such objection at the time of service to the email

       address set forth below): (a) counsel to the Debtors, Young Conaway Stargatt & Taylor, LLP, 1000

       North King Street, Wilmington DE 19801, Attn: Michael R. Nestor (mnestor@ycst.com),

       Matthew B. Lunn (mlunn@ycst.com), and Allison S. Mielke (amielke@ycst.com); (b) counsel to

       the DIP Lender, (i) Cooley LLP, 110 N. Wacker Drive, Suite 4200, Chicago, IL 60606, Attn: Eric

       Walker, Esq. (ewalker@cooley.com); and (ii) Morris, Nichols, Arsht & Tunnell LLP, 1201 North

       Market Street, P.O. Box 1347, Wilmington, DE 19899-1347, Attn: Curtis S. Miller

       (cmiller@mnat.com) and Derek C. Abbot (dabbott@mnat.com); (c) counsel to the Prepetition

       Secured Party, Pachulski Stang Ziehl & Jones LLP, 919 N. Market St., Suite 1700, Wilmington,


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       DE 19801, Attn: Richard M. Pachulski, Maxim B. Litvak, and James E. O’Neill; and (d) the Office

       of the United States Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801,

       Attn: Jane Leamy (Jane.M.Leamy@usdoj.gov). The Court shall conduct a Final Hearing on the

       Requested Relief commencing on __________December 22, 2022 at _________10:00 a.m.

       (prevailing Eastern Time).

                38.       Immediate Binding Effect; Entry of Interim Order. This Interim Order shall be

       valid and fully effective immediately upon entry, notwithstanding the possible application of

       Bankruptcy Rules 6004(h), 7062, and 9014, or otherwise, and the Clerk of the Court is hereby

       directed to enter this Interim Order on the Court’s docket in these Chapter 11 Cases.

                39.        Proofs of Claim. Notwithstanding any order of this Court to the contrary, the

       Prepetition Secured Party and the DIP Lender hereby are relieved of any obligation or requirement

       to file proofs of claim in the Chapter 11 Cases with respect to any Prepetition Senior Obligations

       or DIP Obligations and any other claims or liens granted hereunder or created hereby. Upon

       approval of this Interim Order, the Debtors’ Stipulations shall be deemed to constitute a timely

       filed proof of claim for the Prepetition Secured Party, and Prepetition Secured Party shall be treated

       under section 502(a) of the Bankruptcy Code as if they each have filed a proof of claim.

       Notwithstanding the foregoing, the Prepetition Secured Party is hereby authorized and entitled, in

       its discretion, but is not required, to file (and amend and/or supplement, as it sees fit) a proof of

       claim and/or aggregate proofs of claim in each of these Chapter 11 Cases or Successor Cases for

       any claim allowed herein.

                40.        Retention of Jurisdiction. This Court shall retain jurisdiction over all matters

       pertaining to the implementation, interpretation, and enforcement of this Interim Order.




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